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12
                                UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                   SAN FRANCISCO DIVISION
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     ANIBAL RODRIGUEZ, et al. individually and Case No. 3:20-CV-04688-RS
16   on behalf of all others similarly situated,
17                                               DECLARATION OF EDUARDO E.
                                     Plaintiff,  SANTACANA IN SUPPORT OF
18          vs.                                  DEFENDANT GOOGLE LLC’S
                                                 OPPOSITION TO PLAINTIFFS’ MOTION
19   GOOGLE LLC,                                 FOR LEAVE TO FILE FOURTH AMENDED
                                                 COMPLAINT
20                                   Defendant.
21                                               Judge:      Hon. Richard Seeborg
                                                 Date:       December 8, 2022
22                                               Time:       1:30 p.m.
                                                 Place:      Courtroom 3 - 17th Floor
23                                               Trial Date: Not Yet Set
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                                  SANTACANA DECLARATION ISO
           GOOGLE’S OPPOSITION TO MOTION FOR LEAVE TO FILE FOURTH AMENDED COMPLAINT
                                   CASE NO. 3:20-CV-04688-RS
      Case 3:20-cv-04688-RS           Document 268-1        Filed 11/14/22      Page 2 of 3




 1          I, Eduardo E. Santacana, declare as follows:

 2          1.     I am an attorney licensed to practice law in the State of California. I am a partner

 3   with the law firm of Willkie Farr & Gallagher LLP, counsel of record for Google LLC (“Google”)

 4   in the above-captioned matter. Unless otherwise stated, the facts I set forth in this declaration are

 5   based on my personal knowledge. If called to testify as a witness, I could and would testify

 6   competently to such facts under oath.

 7          2.     I submit this declaration in support of Google’s Opposition to Plaintiffs’ Motion for

 8   Leave to File Fourth Amended Complaint.

 9          3.     Attached hereto as Exhibit 1 is a true and correct copy of excerpts from the
10   transcript of the deposition of Christopher Ruemmler taken in the above-captioned action on

11   September 9, 2022.

12          4.     Attached hereto as Exhibit 2 is a true and correct copy of excerpts from the
13   transcript of the deposition of David Monsees taken in the above-captioned action on September

14   15, 2022.

15          5.     Attached hereto as Exhibit 3 is a true and correct copy of Google’s Privacy Policy
16   effective as of October 4, 2022, which has been produced in the above-captioned action at

17   Beginning Bates number GOOG-RDGZ2-00000313.

18          6.     Attached hereto as Exhibit 4 is a true and correct copy of a Google web page titled
19   “How Google Retains Data We Collect,” which was downloaded on November 12, 2022 at

20   https://policies.google.com/technologies/retention.

21          7.     Attached hereto as Exhibit 5 is a true and correct copy of a Google web page titled
22   “How Google Anonymizes Data,” which was downloaded on November 12, 2022 at

23   https://policies.google.com/technologies/anonymization.

24          8.     Attached hereto as Exhibit 6 is a true and correct copy of a Google Account
25   “Activity controls” web pop-up page titled “Pause Web & App Activity” that was accessed on

26   November 13, 2022 by selecting “Turn off” under the “Web & App Activity” heading on a

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                                  SANTACANA DECLARATION ISO
           GOOGLE’S OPPOSITION TO MOTION FOR LEAVE TO FILE FOURTH AMENDED COMPLAINT
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 1   Google Account page available at https://myactivity.google.com/activitycontrols?settings=search

 2   &utm_source=my-activity&facs=1.

 3          9.    Attached hereto as Exhibit 7 is a true and correct copy of a Google web page titled
 4   “How Google Helps You Delete Data From Your Account,” which was downloaded on November
 5   12, 2022 at https://support.google.com/accounts/answer/10549751#zippy=%2Chow-deletion-of-
 6   activity-works.

 7          10.   Attached hereto as Exhibit 8 is a true and correct copy of a Google web page titled
 8   “Google Terms of Service – Privacy & Terms,” which was downloaded on November 12, 2022 at
 9   https://policies.google.com/terms?hl=en-US.
10          I declare under penalty of perjury that the foregoing is true and accurate. Executed on
11   November 14, 2022 in San Francisco, CA.
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13                                                                 /s/    Eduardo E. Santacana
                                                                           Eduardo E. Santacana
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                                  SANTACANA DECLARATION ISO
           GOOGLE’S OPPOSITION TO MOTION FOR LEAVE TO FILE FOURTH AMENDED COMPLAINT
                                     NO. 3:20-CV-04688-RS
